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                    IN THE UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                            Case No. 2:21-CR-00337-SB
       UNITED STATES OF AMERICA,
13                                            ORDER OF DETENTION
                        Plaintiff,
14
                   v.
15
       ISRAEL BRACAMONTES,
16
17                      Defendant.
18
19          On September 24, 2021, Defendant Israel Bracamontes made his initial
20    appearance on the Indictment filed in this matter. Deputy Federal Public
21    Defender Howard Schneider was appointed to represent Defendant. A
22    detention hearing was held.
23          ~     On motion of the Government [18 U.S.C. § 31420(1)] in a case

24    allegedly involving any felony that is not otherwise a crime of violence that

25    involves a minor victim, or possession or use of a firearm or destructive

~~ device or any other dangerous weapon, or a failure to register under 18
27    U.S.C. § 2250.

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 1           ~     On motion by the Government or on the Court's own motion

 2     [18 U.S.C. § 31420(2)] in a case allegedly involving a serious risk that the

 3     defendant will flee.

 4           The Court concludes that the Government is not entitled to a

 5     rebuttable presumption that no condition or combination of conditions will

 6 '~ reasonably assure the defendant's appearance as required and the safety or
 7     any person or the community [18 U.S.C. § 3142(e)(2)J.

 8           The Court finds that no condition or combination of conditions will

 9 ~ reasonably assure:
10                 ❑ the appearance of the defendant as required.

11                 ~ the safety of any person or the community.

12           The Court has considered the following:

13          (a) the nature and circumstances of the offenses) charged, including

14 '         whether the offense is a crime of violence, a Federal crime of terrorism,

15           or involves a minor victim or a controlled substance, firearm, explosive,

16           or destructive device;

17          (b) the weight of evidence against the defendant;

18          (c) the history and characteristics of the defendant; and

19          (d) the nature and seriousness of the danger to any person or the

20           community.

21     See 18 U.S.C. § 3142(8) The Court also considered all the evidence adduced

22     at the hearing, the arguments of counsel, and the report and

23     recommendation of the U.S. Pretrial Services Agency.

24           The Court bases its conclusions on the following:

25           As to danger to the community:

26                 ❑
                   D     Defendant has 2014, 2007 and 2004 felony convictions for

27     taking a vehicle without the owner's consent and a 2005 conviction for

28     unlawful possession of a firearm by a felon.

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  1                ❑D    The Indictment alleges that in May 2021, Defendant

 2     possessed ammunition and a 9mm pistol from which he knew the

 3     manufacturer's serial number had been removed, obliterated and altered, and

 4     based on the information in the Pretrial Services Report, when Defendant

 5     was arrested in May 2021 for possessing this loaded handgun, he was also

 6     arrested for taking a vehicle without the owner's permission.

 7                 ❑
                   D     Defendant has a history of substance abuse which,

 8     combined with his criminal history, presents a danger to the community.

 9           It is therefore ORDERED that Defendant Israel Bracamontes be

10     detained until trial. The defendant will be committed to the custody of the

11     Attorney General for confinement in a corrections facility separate, to the

12     extent practicable, from persons awaiting or serving sentences or being held

13     in custody pending appeal. The defendant will be afforded reasonable

14     opportunity for private consultation with counsel. On order of a Court of the

15     United States or on request of any attorney for the Government, the person

16     in charge of the corrections facility in which defendant is confined will deliver

17     the defendant to a United States Marshal for the purpose of an appearance in

18     connection with a court proceeding. See 18 U.S.C. § 3142(1).

19
       Dated: September 27, 2021
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22                                    PATRICIA DONAHUE
                                      UNITED STATES MAGISTRATE JUDGE
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